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       May 7, 2024                                                     Via CM/ECF

       The Honorable Tony N. Leung
       Magistrate Judge – U.S. District Court
       U.S. Courthouse
       300 South Fourth Street
       Minneapolis, MN 55415

              Re:     Nyra Jean Miller-Fields v. Ryan Londregan and Brett Seide
                      Case No. 24-CV-01372 (NEB/TNL)

       Dear Magistrate Judge Leung:

               We represent Defendant Ryan Londregan in the above-captioned matter, and we
       join in Ms. Veit-Carter’s request as set forth in her May 6, 2024 letter to Your Honor. I
       respectfully add that it is unfair for the Court to consider Plaintiff’s brief when they had
       the opportunity to review our client’s responsive papers. We followed the U.S. District of
       Minnesota Court’s Local Rules. There should be consequences for not following those
       Rules.


                                                        Respectfully submitted,



                                                        Christopher W. Madel




       CC: All Counsel of Record via CM/ECF
